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UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

Inve Chapter 11
AMERICAN HOME MORTGAGE

HOLDINGS, INC., a Delaware corporation,

elal.,

: Case Number 07-11047 (CSS)
Debtors, (Jointly Administered)
Related to Docket Entry #3537
ORDER DENYING THE APPLICATION FOR ORDER AUTHORIZING

EMPLOYMENT OF LAW OFFICES OF JOSEPH J. BODNAR AS SPECIAL
DELAWARE COUNSEL TO THE OFFICIAL COMMITTEE OF UNSECURED

CREDITORS NUNC PRO TUNC AS OF MARCH 6, 2008
After considering the Official Committee of Unsecured Creditors’ application for an order
authorizing the employment of the law offices of Joseph J. Bodnar as special Delaware counsel to
the Committee nunc pro tune as of March 6, 2008 (the “Application”) and the objection of the
Uniled States Trustee to the Application, after notice of the Application was given and a hearing was
held on the Application on May 5, 2008, for the reasons stated on the record at (he hearing, it is
ORDERED that the Application is DENIED.

BY THE COURT:

  
  

e Honorable Christopher 8, Sontchi
United States Bankruptcy Judge

Date: May £7 . 2008
